
650 S.E.2d 816 (2007)
STATE of North Carolina
v.
Robert Nicholas BOWMAN.
No. 327P07.
Supreme Court of North Carolina.
August 23, 2007.
Rick Glazier, Fayetteville, for Bowman.
Thomas Ziko, Special Deputy Attorney General, Ronald L. Moore, District Attorney, for State of NC.
Prior report: ___ N.C.App. ___, 644 S.E.2d 596.

ORDER
Upon consideration of the petition filed on the 10th day of July 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 23rd day of August 2007."
Upon consideration of the petition filed by Defendant on the 10th day of July 2007 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 23rd day of August 2007."
